Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 1 of 18

BARNSTABLE, ss. SUPERIOR COURT

I, Scott W. Nickerson, Clerk-Magistrate of the Superior Court within and for the County of
Barnstable, having, by law, the custody of the seal and all the records, books, documents and papers
of, or appertaining to said Court, hereby certify that the papers hereto annexed are true copies of the
papers appertaining to said Court, and on file and of record in the Office of said Court, relating to
the Case of BARNSTABLE COUNTY MUTUAL INSURANCE COMPANY, as subrogee of
Phyllis and Edward Powers-Philie, Plaintiff and WHIRLPOOL CORPORATION, Defendant, Case
No. 2072CV0444.

In witness whereof J have hereunto set my hand and the seal of said
Court, at Barnstable, this twenty-second day of February in the year

of our Lord two thousand twenty-one.

LMA vers

First ASsistant.Clerk- Maeistte
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 2 of 18

Case 1:20-cv-12192-FDS Document1 Filed 12/10/20 Page 1 of 5

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

BOSTON DIVISION
BARNSTABLE COUNTY MUTUAL) SUPERIOR COURT
INSURANCE COMPANY, as subrogee of ) BARNSTABLE, SS
Phyllis and Edward Powers-Philie, )
J JAN 15 2021
Plaintiff, )
) FILED
v. ) Case No.: Scott W. Nickerson, Clerk
)
WHIRLPOOL CORPORATION, )
)
Defendant. )
NOTICE OF REMOVAL

 

Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant Whirlpool Corporation
(“Whirlpool”), expressly reserving all rights otherwise to respond to this lawsuit, hereby removes
the above-captioned case, which was filed in the Superior Court of Barnstable ‘County,
Massachusetts, as Case No. 2072CV 00444, to the United States District Court for the District of .
Massachusetts.

| PROCEDURAL HISTORY a a

1. “This case isa civil action filed on or about November 13, 2020, in the Superior
Court of Barnstable County, styled Barnstable County Mutual Insurance. Company a/s/o Phyllis -
& Edward Powers-Philie v. Whirlpool Corporation, Case No. 2072CV00444. Whirlpool was
served with the Summons and Complaint on December, 1, 2020. | | |

2. Removal is timely under 28 U.S.C. § 1446(b). Whirlpool has filed this Notice of

Removal within thirty (30) days of service of the Summons and Complaint.

\neroby certity on /// 2/7 that the
foregoing srocurr ment is true and correct copy of the:
[1 electronic docket in the captioned case
Oe ronically filed original filed on.
original filed in my office on
Robert M. Farrell
Clerk, U.S. District Court

District ei 2

Deputy Clerk ©

 

Peo:

 
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 3 of 18

Case 1:20-cv-12192-FDS Document1i Filed 12/10/20 Page 2 of 5

3. Removal to this Court is proper because the District of Massachusetts, Boston
Division is the district and division embracing the place (Barnstable County, Massachusetts) where
the action was filed. 28 U.S.C. § 1441(a). |

4, As required by 28 U.S.C. § 1446(a), Whirlpool has attached to this notice “a copy
of all process, pleadings, and orders served upon” it. See Exhibit A.

5, Upon filing this Notice of Removal, Whirlpool will provide written notification to
Plaintiffs counsel and will file a Notice of Filing Notice of Removal (attaching a copy of this
Notice of Removal) with the Superior Court of Barnstable County,

CITIZENSHIP OF THE PARTIES

6. Plaintiff, Barnstable County Mutual Insurance Company, as subrogee of Phyllis
and Edward Powers-Philie (“Plaintiff”), is a corporation organized and existing under the laws of
Massachusetts, with its principal place of business in Massachusetts, See Complaint, at § 1.
Therefore, Plaintiff is a citizen of the commonwealth of Massachusetts. ! |

7. Whirlpool is a corporation organized and existing under the laws of Delaware, with
its principal place of business in Michigan. Therefore, Whirlpool is a citizen of the states of
Delaware and Michigan. See Hertz Corp. v. Friend, 559 U.S. 77, 93.(2010) (holding that a
corporation is a citizen of its place of incorporation and its “principal place of business,” which is
“the actual center of direction, control, and coordination” of the corporation’s activities).

8. Therefore, Plaintiff and Whirlpool are citizens of different states and complete

diversity of citizenship for purposes of removal exists.

 

1 While not real parties in interest for purposes of determining diversity jurisdiction, PlaintifP's subrogors, Phyllis and
Edward Powers-Philie, are also citizens of Massachusetts. See Complaint, at | 2. See “Diversity between parties
depends on the citizenship of the subrogee []-—not the subrogor [].” Metropolitan Prop. & Cas. Ins. Co. v. Pest Doctor
Systems, Inc., 2015 WL 4945767, No. 3:14-cv-143, at *1 n. 1 (Aug. 20, 2015 S.D. Ohio) (citing Cont'l Cas. Co. v.
Ohio Edison Co., 126 F.2d 423, 425-26 (6th Cir. 1942)).
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 4 of 18

Case 1:20-cv-12192-FDS Document1 Filed 12/10/20 Page 3of5

JURISDICTION EXISTS PURSUANT TO 28 U.S.C. § 1332

9. This Court has jurisdiction over this action under 28 U.S.C. §§ 1332 and 1446(b)
because (1) there is complete diversity of citizenship between Plaintiff and Whirlpool , and (2) the
amount in controversy exceeds $75,000, exclusive of interest and costs.

10. As set forth in the immediately preceding section, this case involves “citizens of
different States.” See 28 U.S.C. § 1441(b).

11. Plaintiff seeks damages in the amount of $169,931.57. See Civil Action Cover
Sheet filed with Plaintiffs Complaint. . |

12. Thus, the amount in controversy in this matter exceeds $75,000, exclusive of
interest and costs, as required by 28 U.S.C. § 1332(a).

13. | Removal of this action is not prohibited by 28 USS.C. § 1445.

TIMELINESS OF REMOVAL

14. Whirlpool filed this Notice of Removal within thirty (30) days of the date it was

served with this removable action, and within the time prescribed for filing this Notice of Removal

under 28 U.S.C. § 1446.
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 5 of 18

Case 1:20-cv-12192-FDS Document1 Filed 12/10/20 Page 4of5

CONCLUSION
For the foregoing reasons, Defendant Whirlpoo! Corporation removes this action from the
Superior Court of Barnstable County, Massachusetts, to the United States District Court for the

District of Massachusetts, Boston Division.

Dated: December 10, 2020
The Defendant,
WHIRLPOOL CORPORATION

[tf Rebull, faa
John F. Rooney, Il, BBO#426895
Robert T. Treat, BBO#548530
Melick & Porter, LLP
Boston, MA 02109
Telephone: (617) 523-6200
Facsimile: (617) 523-8130
jrooney@melicklaw.com
rtreat{@melicklaw.com
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 6 of 18

Case 1:20-cv-12192-FDS Document1 Filed 12/10/20 Page 5 of 5

CERTIFICATE OF SERVICE
I hereby certify that on the 10th day of December, 2020, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to all counsel of record by operation of the Court’s
electronic filing system. Parties may access this filing through the Court’s system.

James T. Buchanan

Thomas Reis

Buchanan & Associates

124 Washington Street, Suite 303
Foxboro, MA 02035

Telephone: - €(781}-255-0330
Facsimile: (781) 255-0339
jtb@buchananassoc.com

Thomas.reis@buchananassoc.com

Counsel for Plaintiff

[tf Rebvt 7, Faate
Robert T. Treat
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 7 of 18

Commonwealth of Massachusetts

BARNSTABLE, SS. TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT

' rs . CIVIL DOCKET NO. QO7a CYOGH4H
Barnstable County Mutual Insurance Company ofs/o

Phyllis and Eduiard Pauters~Philie _, PLAINTIFF(S),

 

Vv.
Whiloodl Co rporathon , DEFENDANT(S)
| SUMMONS
THIS SUMMONS IS DIRECTED TO Wnicldool Co (poration . (Defendant’s name)

 

You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
filed in the Barnstable Superior Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

You must respond to this lawsuit in writing within 20 days. if you do not respond, the court may decide
the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the
opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
extension of time in writing from the Court.
How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a
copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by:

a. Filing your signed original response with the Clerk's Office for Civil Business, Superior Court, by mail
to P.O. Box 425, or in person to 3195 Main Street, Barnstable, MA 02630, AND

b. Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following
address: 134 Washington St. Ste 303 Foylnare MA 09035
What to include in your response. An “Answer” is one type of response to a Complaint. Your Answer
must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
Some defenses, called affiumative defenses, MUST De Stated in your Answer or you may lose your right to
use them in court. if you have any claims against the Plaintiff (referred to as counterclaims) that are
based on the same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or in a written demand for a jury trial that you must send to the other side and file with the
court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient.. A Motion
to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. if
‘you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”
described in the rules of the Court in which the complaint was filed, available at
www. mass.gov.courts/case-legal-res/rules of court.
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 8 of 18

Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
information for people who represent themselves is available at www. mass.gov/courts/selfhelp.
Required information on all filings: The “civil docket number” appearing at the top of this notice is the
case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.

You should refer to yourself as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on , 20 . (SEAL)

Scott W. Nickerson

a
. . . c .
Clerk-Magistrate Lenff Dy. ickewee

Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the

summons Lefere it is served on tha Defendant.

PROOF OF SERVICE OF PROCESS

Suffolk County Sheriff's Department + 132 Portland Street, Boston, MA 02114 + (617) 704-6999
Suffolk, ss.

 

December 1, 2020

I hereby certify and return that on 12/1/2020 at 8:40 AM I served a true and attested copy of the
Summons, Complaint and Cover Sheet in this action in the following manner: To wit, by delivering
in hand to Bernardo Montanez, agent and person in charge at the time of service for Whirlpool
Corporation, at 84 State Street Corporation Service Company Boston, MA 02109 . Attest/Copies
($5.00) Basic Service Fee (IH) ($30.00) Conveyance ($0.30) Postage and Handling ($1.00) Travel

($23.90) Total: $60.20

Deputy Sheriff Joseph Casey

 

200/07 g,,

 

Deputy Sheriff

 
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 9 of 18

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CIVIL ACTION COVER SHEET DOCKET NUMBER toe Trial Court of Massachusetts ,
QD Oth bh { The Superior Court
7 a
PLAINTIFF(S): Bamstable County Mutuat Insurance Company aldo Phyllis and Edward f COUNTY
Barnstable
ADDRESS: P.O. Box 339
Yarmouthport, MA 02675 ” DEFENDANT(S): Whirlpool Corporation
a -
a
SUPERIOR Cous=
— ry
ATTORNEY: James T. Buchanan BAR h EST AE: Pe
d = Te i
ADDRESS: 124 Washington Street, Suite 303, Foxboro, MA 02035 ADDRESS: 2006 No pS nistrative Genter, Benton Harbor/Mi 49022 ;
“SEUE NOV LO coe i
i
oe (a 4 - | ———
BBO: 561098 i Crt! tw (hig Glork
TYPE OF ACTION AND TRACK DESIGNATION (see reverse side) Tn cenemeesiiestanead
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
BOS Products Liability A yes [] NO

 

 

*If "Other" please describe:

 

Is there a claim under G.L. c. 93A? Is this a class action under Mass. R. Civ. P. 23?
YES [] NO [_] YES NO

STATEMENT OF DAMAGES PURSUANT TO GLL. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel relies to determine money damages.
For this form, disregard double or treble damage claims; indicate single damages only.

TORT CLAIMS
(attach addifional sheets as necessary)
A. Documented medical expenses to date:
41. Total hospital ExPENSeS ..o... ee eee ceecesssnecsnecseeserseeeseseseseecnseesecenercnstensnacranestresseenevenseesscsnensentaneees
2. Total doctor expenses ........
3. Total chiropractic expenses .......
4. Total physical therapy expenses ........
5. Total other expenses (describe DelOW) ......... ccc eecssscseeeseesenesensereteseecrenenerenerasecsesrtessmneceenananssseensssaneseneateeas

  
  
 
 

B. Documented lost wages and compensation to date 0... csesseeccsessenessserseseensesessensessennsesssussessnassesnanesesesnsasocensntenseasacneaasnersanansaesseecasansnens
C. Documented property damages to date ....... ec eessesseeeseesessseeecenererereneetestensceusers

D. Reasonably anticipated future medical and hospital expenses
E. Reasonably anticipated lost WaQES «00.0... cceereeseseeereseenenes
Other documented items of damages (describe DelOW) 0... ecseseseseseseseeetenesseseeesseensensenseetesessneranenaessscnanesensanaensencastesaneseeenecancenscesseeseeees

\iternate living expenses

‘Ie. Briefly describe plaintiffs injury, including the nature and extent of injury:

Plaintiff issued payments to its insured after insured's property was damaged in a fire caused by a malfunction ofa
TOTAL (A-F):$ 169,931.57

product designed, manufactured, and/or distributed by the defendant.

CONTRACT CLAIMS
(attach additional sheets as necessary)
[| This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).
Provide a detailed description of claim(s):
TOTAL: $ 169,931.57

Defendant's negligently designed, manufactured, and/or distributed product failed and ignited, causing Plaintiff's damages.

Signature of Attorney! Unrepresented Plaintiff: X Cy Date: / / +, /9 / 2029

 

RELATED ACTIONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

 

CERTIFICATION PURSUANT TO SJC RULE 1:18
| hereby certify that | have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that | provide my clients with information about court-connected dispute resolution services and discuss with them the
advantages and disadvantages of the various methods of dispute resolution.

 

 

 

Signature of Attorney of Record: X ao \ 2m Date: | / { af, 2029
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Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 10 of 18

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COMMONWEALTH OF MASSACHUSETTS SUP; Op TG SOUS ve
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BARNSTABLE, SS.

 

 

) atl é he Clerk
BARNSTABLE COUNTY MUTUAL ) - |
INSURANCE COMPANY a/s/o )
PHYLLIS and EDWARD POWERS-PHILIE, )
Plaintiff )
)
v. ) COMPLAINT
)
WHIRLPOOL CORPORATION )
Defendant )
)
PARTIES
1. At all times material hereto, the plaintiff, Barnstable County Mutual Insurance

Company, (hereinafter referred to as “Barnstable”), is a duly organized insurance company
licensed and authorized to conduct business in the writing of fire and allied lines of insurance
coverage within the Commonwealth of Massachusetts, whose principal place of business is
located in the Town of Yarmouth Port, Barnstable County, Massachusetts.

2. At all times material hereto, subrogors, Phyllis and Edward Powers-Philie (the
insureds), are the owner of record of real property located at 6 Lisa Lane, East Sandwich,
Massachusetts (hereinafter the “Subject Property”) which is the subject property of this lawsuit.

3. At all times material hereto, the Defendant, Whirlpool Corporation (hereinafter
"Whirlpool"), is a foreign corporation organized under the laws of the State of Delaware, with a
principal place of business located at 2000 North M-63, Administrative Center, Benton Harbor,
Michigan, that was and is engaged in the design, manufacture, and/or distribution of residential

washing machines throughout the United States of America, including the Commonwealth of
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 11 of 18

Massachusetts, and with a registered agent, Corporation Service Company, 84 State Street,

Boston, Massachusetts.

4. At the time of the incident giving rise to this suit, Barnstable had issued Phyllis
and Edward Powers-Philie, a policy of insurance, Policy No. HM00500597, containing a
$2,500.00 deductible.

5. In accordance with the governing insurance policy, Barnstable issued actual cash
value claim payments to its subrogors, subject to the policy's deductible, for the repair and/or
replacement of their damaged property.

6. As aresult, Barnstable is now legally subrogated to the recovery of the claim

payments and deductible from the Defendant.

 

JURISDICTION
7. Jurisdiction of the subject matter for this action is conferred upon this Court
pursuant to G.L. c. 212, § 3.
ALLEGATIONS OF FACT
8. At all times material hereto, Whirlpool, designed, manufactured, and/or

distributed a line of top loading washing machines, one of which was owned by Phyllis and
Edward Powers-Philie.

9. Said washing machine was reasonably used by the insureds, in its usual,
customary, expected and intended manner.

10. At all times material hereto, however, the subject washing machine was
designed, manufactured, and/or assembled, and distributed in such a defective manner that, on or
about September 11, 2019, the appliance failed, ignited, and caused extensive fire damage to the

Subject Property and the insured’s, personal property.
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 12 of 18

11. At all times material hereto, Barnstable had issued a policy of homeowner's
insurance to Phyllis and Edward Powers-Philie, Policy No. HM00500597, containing a
$2,500.00 deductable, which was in effect at the time.

12. Accordingly, Barnstable is now legally subrogated to the recovery of the
aforementioned claim payment.

FIRST COUNT - BREACH OF EXPRESSED WARRANTY

13. The Plaintiff repeats the allegations contained in paragraphs 1 through 12 above
and incorporates them by reference herein.

14. The Defendant, though labeling, advertisement, and verbal representations
directed to the attention of the public generally, expressly warranted that the subject product
could be used for its intended or particular purpose and was safe and free from defects.

15. Pursuant to M.G.L. c.106, § 2-313, and in reliance upon such warranty made by
the Defendant, the insured did in fact purchase the subject washing machine from the Defendant.

16. At the time the product was originally purchased, however, it was, in fact,
defective, and not safe or reasonably suitable or fit for the purposes advertised.

17. As aresult, the Defendant's expressed warranties were not true, and such breaches
of warranty proximately caused the Plaintiff's damages as set forth herein.

SECOND COUNT- BREACH OF IMPLIED WARRANTY

18. The Plaintiff repeats the allegations contained in paragraphs 1 through 17, and
incorporates them by reference herein.

19. The Defendant impliedly warranted that the washing machine was of

merchantable quality, fit, safe and in proper condition for the ordinary use for which it was
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 13 of 18

designed, manufactured, distributed and ultimately used, and in reliance upon the implied
warranty of merchantability, the product was purchased and operated as set forth above.

20. The subject washing machine, however, was not of merchantable quality, and in
fact, was not fit, safe, or usable for any purpose for which it was designed and/or manufactured,
and distributed. Therefore, as a direct and proximate result of the Defendant's breach of the
implied warranty of merchantability, the Plaintiff was damaged as set forth herein.

THIRD COUNT- NEGLIGENCE

21. The Plaintiff incorporates by reference the allegations contained in paragraphs 1-
20 above.

22. The washing machine was designed, manufactured, and/or distributed by the
Defendant with the reasonable expectation that it would be used by its consumers for its intended
purpose, and knew or should have known, in the exercise of ordinary care that if defectively
designed or manufactured, the product was a potentially hazardous instrumentality.

23.  Incareless disregard for its duties, however, the Defendant did in fact negligently

| design and/or manufacture the product, and furthermore, allowed the defective product to enter
the stream of commerce, causing the Plaintiff's damages as set forth herein.

FOURTH COUNT - UNFAIR AND DECEPTIVE BUSINESS PRACTICES

24. The plaintiff restates, reasserts and incorporates by reference its allegations
contained in paragraphs 1 through 23 as if fully set forth herein.

25.  Atall times material hereto, the defendant was and continues to be engaged in
interstate trade and/or commerce, including such business within the Commonwealth of

Massachusetts.
Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 14 of 18

26. The defendant’s aforesaid breaches of warranty and negligence in designing,
manufacturing, distributing and installing a defective and unreasonably dangerous product
constitutes an unfair and deceptive business act or practice within the purview of the
Commonwealth’s consumer protection statute, as set forth under M.G.L. c. 93A, §§ 2 and 9(4).

27. Asaresult of the above-described unfair and deceptive act or practice, the
plaintiff sustained extensive property damage resulting from the fire to include, but not limited
to, damage to the subject building and personal property stored therein, and loss of income and
expenses incurred due to the interruption of business.

WHEREFORE, the Plaintiff, Barnstable County Mutual Insurance Company, as

Subrogee of Phyllis and Edward Powers-Philie, requests the following relief:

1. Enter judgment against the Defendant, Whirlpool Corporation;

2. Enter judgment against the defendant, Whirlpool Corporation, individually,
pursuant to MGL Chapter 93A, with treble damages, attorney’s fees, and costs;

3. Award damages to Barnstable County Mutual Insurance Company for an amount
necessary to invoke the jurisdiction of this Honorable Court;

4. Award Barnstable County Mutual Insurance Company interest, costs, attorneys’
fees and expenses; and

5. Award such other relief as this Honorable Court deems just and appropriate.

JURY DEMAND
The Plaintiff, Barnstable County Mutual Insurance Company, a/s/o Phyllis and

Edward Powers-Philie, demands a trial by jury on all issues so triable.

Signature on following page
Dated:

Case 1:20-cv-12192-FDS Document 22 Filed 02/24/21 Page 15 of 18

tf a /222?

   

Respectfully Submitted,

On Behalf of the Plaintiff,

Barnstable County Mutual Insurance
Company, as Subrogee of Phyllis and
Edward Powers-Philie,

By its Attorneys,

BUCHANAN AND ASSOCIATES
ATTORNEYS AT LAW, P.C.

Foxboro, MA. 02035
TEL: 781-255-0330

as F. Reis (BBO#634139)
thomas.reis@Buchananassoc.com
124 Washington St., Suite 303
Foxboro, MA 02035
TEL: 781-255-0330
CRTR2709-CR

  

3 gGcE-SO-CV- 121 920 MITO NWEALTREOF MASSACHUSETTS 1 Page 16 of 18
; BARNSTABLE COUNTY
Docket Report

2072CV00444 Barnstable County Mutual Insurance Company a/s/o Phyllis and Edward Powers-Philie vs.
Whirlpool Corporation

 

CASE TYPE: Torts

ACTION CODE: B05

DESCRIPTION: Products Liability

CASE DISPOSITION DATE:02/22/2021

CASE DISPOSITION: Transferred to another Court
CASE JUDGE:

FILE DATE: 11/13/2020
CASE TRACK: A- Average

CASE STATUS: Closed
STATUS DATE: 02/22/2021
CASE SESSION: Second Session

 

 

ees — DCMTRA
Tickler Description

Due Date Compietion Date

 

Judgment

02/11/2021 12/07/2020

11/13/2023 02/22/2021

 

 

PARTIES

 

Plaintiff

Barnstable County Mutual Insurance Company a/s/o
Phyllis and Edward Powers-Philie

PO Box 339

Yarmouthport, MA 02675-0268

 

 

Private Counsel 561098
James-Thomas Buchanan

Buchanan and Associates, Attorneys at Law, P.C.
Buchanan and Associates, Attorneys at Law, P.C.

424 Washington St

Suite 303

Foxborough, MA 02035

Work Phone (781) 255-0330

Added Date: 11/13/2020

 

 

Printed: 02/22/2021 12:14 pm Case No: 2072CV00444

 

Page: 1

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CRTR2709-CR SCV 121°5CONDONWEALTINEOF MASSACHUSETTS 1 Page 17 of 18
BARNSTABLE COUNTY
Docket Report
Defendant Private Counsel 548530
Whirlpool Corporation Robert T Treat
2000 North M-63 Melick & Porter, LLP
Administrative Center Melick & Porter, LLP
Benton Harbor, MI 49022 One Liberty Square 7th Floor
Boston, MA 02109
Work Phone (617) 523-6200
Added Date: 01/15/2021
FINANCIAL DETAILS |
Date Fees/Fines/Costs/Charge Assessed Paid Dismissed Balance
11/13/2020 Civil Filing Fee (per Plaintiff) Receipt: 240.00 240.00 0.00 0.00
15208 Date: 11/13/2020
11/13/2020 — Civil Surcharge (G.L. c. 262, § 4C) 15.00 15.00 0.00 0.00
Receipt: 15208 Date: 11/13/2020
11/13/2020 Civil Security Fee (G.L. c. 262, § 4A) 20.00 20.00 0.00 0.00
Receipt: 15208 Date: 11/13/2020
11/13/2020 Fee for Blank Summons or Writ 5.00 5.00 0.00 0.00
(except Writ of Habeas Corpus) MGL
262 sec 4b Receipt: 15208 Date:
41/13/2020
02/18/2021 Fee for copy of court documents, 23.00 23.00 0.00 0.00
records, papers, G.L. c. 262 § 4b.
Receipt: 15596 Date: 02/18/2021
; Total 303.00 303.00 0.00 0.00
Printed: 02/22/2021 12:14 pm Case No: 2072CV00444 Page: 2

 

 

 
CRTR2709-CR PSS h-FO-CV-12 1 SHOMMONWEALTIDOF MASBACHUSEMAS 1 Page 18 of 18
A Go OE BARNSTABLE COUNTY
Docket Report

 

 

"INFORMATIONAL DOCKETENTRIES

 

 

 

 

 

Date Ref Description Judge
19/99/2020 Early Case Management Conference Pilot Program. eee ceccteeseeeeeeeeeeeeneennens
19/93/2020 Case assigned to: DCM Track A- Average was added on 11/13/2020
19/13/2020 Vo. Original civil complaint filed. ee ceceeeceeeneseeeneceseeeenneetnnnneseennaeeeneneeeneeee
11/13/2020 2 Civil action cover sheet FCG ea cee eee eee cen cetee eee ceeceneeeneeneeneeneeeennneatens
12/07/2020 3 Service Returned for

Defendant Whirlpool Corporation: Service via resident agent;

Bernardo Montanez, Agent for Whirlpool, Corp Service Company, 84 State

01/15/2021 4 Notice of Removal to the United States District Court filed by
Defendant, Whirlpool Corporation

Applies To: Treat, Esq., Robert T (Attorney) on behalf of Whirlpool Corporati

02/22/2021 Case transferred to another court.

 

 

 

   
 

A true copy, Attest

Clerk

 

Printed: 02/22/2021 12:14 pm Case No: 2072CV00444 Page: 3

 

 

 
